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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

    NUVASIVE, INC.                                       )
                                                         )
                        Plaintiff,                       )
                                                         )
    v.                                                   )       Civil Case No. 6: l 7-cv-2206-orl-l 8-GJK
                                                         )
    ABSOLUTE MEDICAL, LLC, GREG                          )       INJUNCTNE RELIEF SOUGHT
    SOUFLERIS, and DAVE HAWLEY,                          )
                                                         )
                        Defendants,                      )


                                      DECLARATION OF KIRK TYREE

             Under penalty of perjury and pursuant to 28 U.S.C. Section 1746, Declarant, Kirk Tyree,

    states that:

             1.         My name is Kirk Tyree. I am above the age of 18 and am fully competent to give

   the testimony contained in this Declaration, all of which comes from my personal knowledge and

   my May 21, 2018 discovery and review ofNuVasive's corporate documents.

             2.         I am employed byNuVasive, Inc. ("NuVasive") as Director, Legal Affairs.

             3.         Exhibit A to this Declaration is a copy of the Exclusive Sales Representative

   Agreement that Absolute Medical, LLC ("Absolute Medical") signed with NuVasive and which

   became effective on February 14, 2013 (the "2013 Agreement").               Section 6.13 of the 2013

   Agreement requires Absolute Medical to, among other things, enter into agreements with its

   sales personnel which contain certain non-competition and non-solicitation obligations.

             4.         Upon my review of NuVasive corporate records and information and belief:

                        a. Exhibit B to this Declaration is an exemplar of the 2013 Independent
                           Contractor Agreement (the "Absolute Contractor Agreement") that Absolute
                           Medical entered into with its independent sales representatives to, among other
                           things, comply with the obligations contained in Section 6.13 of the 2013
                           Agreement;


   731054.2/020170439                                                                                EXHIBIT
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                        b. Exhibit C is a copy of an executed signature page to the Absolute Contractor
                           Agreement between Absolute Medical and Dave Hawley; and

                        c. Exhibit D is a copy of an executed signature page to the Absolute Contractor
                           Agreement between Absolute Medical and Ryan Miller.

             5.         Based on my review of NuVasive's corporate records, the executed signature

    pages of Dave Hawley and Ryan Miller (Exhibits C and D) are identical to the signature page

    contained in the exemplar Absolute Contractor Agreement (Exhibit B). Therefore, I reasonably

    believe that Dave Hawley and Ryan Miller executed Absolute Contractor Agreements.

             Further, this Declarant sayeth not.

             I declare under penalty of perjury the foregoing is true and correct.




                                                                  Kirk Tyree




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                           EXCLUSIVE SALES REPRESENTATIVE AGREEMENT

            This EXCLUSIVE SALES REPRESENTATIVE AGREEMENT (the "Agreement") is entered
   into effective as of February 11, 2013 ("Effective Date") by and between NuVasive, Inc., a Delaware
   corporation with principal offices at 7475 Lusk Boulevard, San Diego, California 92121 ("NuVasive"),
   and Absolute Medical LLC, a Florida limited liability corporation with a principal place of business at
   213 Villa Di Este Terrace #105, Lake Mary, Florida 32746 ("Representative") (each a "Party" and
   collectively "the Parties").

   1.        DEFINITIONS

                 1.1 "Products" means those products listed in Exhibit A attached hereto. Products subject to
        this Agreement may be changed, discontinued or added by NuVasive, at its sole discretion, so long as
        such change, discontinuation and/or addition similarly affects, or would otherwise put Representative
        in line with, the product offering for other similarly situated sales representatives ofNuVasive. Such
        change, discontinuation and/or addition shall be effective thirty (30) days after delivery by NuVasive
        to Representative of a new Exhibit A.

                 1.2 "Territory" means the geographic areas and/or specific institutions listed on Exhibit B
        hereto. The Territory may be increased or decreased by agreement of the Parties in writing. NuVasive
        may, in its sole discretion, decr,ease the Territory if (i) the Territory is not sufficiently covered by
        sufficient representation in accordance with the sales action plan agreed to by the Parties and delivered
        pursuant with Section 6.4, (ii) Representative is in violation of Section 6.12, 6.14 or 6.15 of this
        Agreement, (iii) Representative is in Poor Standing, or (iv) NuVasive pays Representative an amount
        equal to the then-current Stated Percentage with respect to the sales generated (based on either the
        sales generated in the prior calendar year or the twelve (12) months following decrease in Territory, as
        determined in the sole discretion ofNuVasive) in the portion of the Territory that is being decreased
        from Representative.

   2.        APPOINTMENT AND AUTHORITY OF REPRESENTATIVE

                 2.1 Exclusive Sales Representative. Subject to the terms and conditions herein, NuVasive
        hereby appoints Representative as NuVasive's exclusive sales representative for Products in the
        Territory, and Representative hereby accepts such appointment. Representative's sole authority shall
        be to solicit orders for Products in the Territory in accordance with the terms of this Agreement.
        Representative shall not have the authority to make any commitments whatsoever on behalf of
        NuVasive.

                2.2 Territorial Limitation. Representative shall not, directly or indirectly; (i) advertise or
        promote any Products outside the Territory; (ii) solicit or procure any orders for Products from outside
        the Territory; or (iii) otherwise act as NuVasive's representative with respect to the Products outside
        the Territory, without the prior written consent of NuVasive. Representative may only submit and
        procure orders from customers located and taking delivery of Products within the Territory.
        Representative shall maintain sufficient representation in all spine hospitals and clinics in the Territory
        and shall promptly replace any sales representatives that leave Representative's organization while the
        Agreement is in force. Any accounts or portions of the Territory without sufficient representation may
        at NuVasive's discretion be moved to a non-exclusive status (notwithstanding Section 2.1) or removed
        from the Territory.


                                                                                                                 EXHIBIT
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                  2.3 Independent Contractors. The relationship of the Parties established by this Agreement is
        that of independent contractors, and nothing contained in this Agreement shall be construed to ( i) give
        either Party the power to direct and control the day-to-day activities of the other Party, (ii) constitute
        the Parties as partners, joint venturers, co-owners or otherwise as participants in a joint undertaking, or
        (iii) allow Representative to create or assume any obligation on behalf of NuVasive for any purpose
        whatsoever. All financial and other obligations associated with each Party's business and its
        performance of obligations under this Agreement are the sole responsibility of the respective Party.
        Each Party shall be solely responsible for, and shall indemnify and hold the other Party free and
        harmless from, any and all claims, actions, proceedings, damages, liability, costs and expense
        (including reasonable attorneys' fees) arising out of the acts of its employees or its agents. For the
        avoidance of doubt, with respect to its sales representatives, Representative shall be solely responsible
        for hiring, promoting, discharging, scheduling appointments, establishing pay scales and/or other
        remuneration, remunerating, reimbursing for work-related expenses, implementing discipline and any
        other action directly related to the employment of such sales representatives.

                 2.4 Conflicts oflnterest. Representative represents and warrants to NuVasive that it does not
        (nor does any entity or person affiliated with it) currently represent or promote any lines or products
        that are competitive with any Nu Vasive Product, and that it shall not (nor shall any entity or person
        affiliated with it) during the Term, directly or indirectly, represent, promote, sell or otherwise
        commercialize within the Territory (i) any lines or products that are competitive with any Product
        covered by this Agreement or (ii) any non-NuVasive products for use in spine surgery. Further, during
        the Tenn, Representative shall not, directly or indirectly, represent, promote, sell or otherwise
        commercialize any products (other than the Products) without the written consent ofNuVasive. In
        addition, Representative represents that its performance of all the terms of this Agreement and as an
        agent of Nu Vasive does not and will not breach any agreement to keep in confidence proprietary
        information, knowledge or data acquired by it in confidence or in trust prior to its engagement by
        NuVasive, and Representative agrees not to disclose to Nu Vasive any confidential or proprietary
        information or material belonging to any previous employers or other entities with whom
        Representative has been involved. Representative represents and warrants that it has not entered into
        (and is not bound by) any agreement, either written or oral, that is in conflict herewith or in conflict
        with the engagement contemplated hereby.

                2.5 Corporate Compliance. Representative agrees and warrants that it will cooperate fully
        with NuVasive personnel in all respects with regard to performing the obligations of this Agreement,
        including participating in requested teleconferences, meetings, and travel, and providing sales target
        and sales forecasting information to NuVasive upon reasonable request.

   3.        COMMISSION

               3.1 Sole Compensation. Representative's sole compensation under the terms of this
        Agreement shall be (i) a commission ("Commission") based on Net Sales (as defined in Section 3.2
        below) of Products resulting from Representative's procurement of orders therefore pursuant to this
        Agreement, in accordance with the schedule set forth in Exhibit C hereto and (ii) $300,000 paid in
        accordance with the schedule set forth in Exhibit D hereto.

                3 .2 Basis of Commission. The Commission shall apply to all Product orders (i) procured by
        Representative from customers within the Territory in accordance with this Agreement; (ii) that have
        been accepted by NuVasive; and (iii) for which shipment of Products and recognition of revenue by
        NuVasive has occurred. Commissions shall be computed based on "Net Sales" which shall, for
        purposes of this Agreement, be defined as the dollar amount actually received by Nu Vasive from a
        customer for the sales of the Product(s), less charges for shipping, handling, freight, taxes, C.O.D.

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        charges, insurance, tariffs and duties, cash and trade discounts, rebates, charge back payments to
        managed healthcare organizations, amounts allowed or credited for returns, uncollected or
        uncollectable amounts, services, and the like. The Territory may be subdivided into regions if set forth
        as such on Exhibit B, Exhibit C or Exhibit E (as updated from time to time by NuVasive). Separate
        Quota Commitments may be designated for each such region.

                 3.3 Time and Manner of Payment. The Commission pursuant to Section 3 on a given order
        shall be due and payable thirty (30) days after the end of the calendar month in which NuVasive
        invoices and ships that order.

                 3.4 Commission Charge Back. NuVasive shall have the absolute right to set such cash
        discounts, to make such allowances and adjustments, to accept such returns from its customers, and to
        write off as bad debts such overdue customer accounts as it deems advisable in its discretion. In each
        such case, NuVasive shall charge back to Representative's account any Commission previously paid or
        credited to it with respect to such cash discounts, allowances, adjustments, returns or bad debts.
        Representative also agrees to accept charges for: (i) pricing arrangements (or side deals) not approved
        by NuVasive; (ii) lost, damaged or missing inventory; (iii) failure to comply with NuVasive's
        communicated policies, e.g., inventory management policy (i.e. carrying charges for excess inventory
        levels) and prohibition of "house accounts"; and (iv) courier charges for the delivery of Products when
        NuVasive standard method of shipping was available.

                3.5 Monthly Statements. NuVasive shall submit to Representative monthly statements of the
        Commissions due and payable to Representative under the terms of this Agreement, with reference to
        the specific invoices on which the Commissions are being paid.

               3.6 Potential Bonus Payments. NuVasive may, from time to time and in its sole discretion,
        pay bonuses as separately outlined by Sales Administration for the achievement of peak sales
        performance and as part of special product roll-outs and initiatives.

   4.        SALE OF THE PRODUCTS

                 4.1 Prices and Terms of Sale. Nu Vasive shall provide Representative with copies of its
        current price lists, its delivery schedules, and its standard terms and conditions of sale, as established
        from time to time. Nu Vasive's current terms and conditions of sale are attached hereto as Exhibit F,
        which may be amended from time to time in the sole discretion of Nu V asive (the "Terms and
        Conditions"). Representative shall quote to customers only those authorized prices, delivery
        schedules, and terms and conditions, and shall have no authority to quote or offer any discount to such
        prices or change any such terms and conditions, without the prior written consent ofNuVasive.
        NuVasive may change the prices, delivery schedules, and terms and conditions, at any time and from
        time to time, such changes to be effective thirty (30) days after delivery by NuVasive to
        Representative of written notice of any such changes. Each order for a Product shall be governed by
        the prices, delivery schedules, and terms and conditions in effect at the time the order is accepted by
        NuVasive, and all quotations by Representative shall contain a statement to that effect.

                 4.2 Orders; Acceptance, All orders for the Products shall be in writing, and the originals shall
        be submitted to NuVasive. NuVasive shall promptly furnish to Representative informational copies of
        all commissionable orders sent by customers in the Territory. All orders obtained by Representative
        shall be subject to acceptance by NuVasive at its sole discretion. Representative shall have no
        authority to make any acceptance or delivery commitments to customers. Nu Vasive agrees that its
        normal business practice is to accept all bona fide orders for Products, subject to availability and
        NuVasive's credit and ordering policies.

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                 4.3 Collection. It is expressly understood by Representative that full responsibility for all
        collection rests with NuVasive, provided, at NuVasive's request, Representative will assist NuVasive
        in the collection of any accounts receivable ofNuVasive.

   5.        WARRANTY

                5.1 Customer Warranty. Any warranty for the Products shall run directly from NuVasive to
        the customer, and pursuant to the warranty the customer shall return any allegedly defective Products
        to NuVasive. Representative shall have no authority to accept any returned Products.

                5.2 Warranty Terms. All warranty claims shall be governed by the Terms and Conditions.

   6.        ADDITIONAL OBLIGATIONS OF REPRESENTATIVE

              6.1      Quota Commitment. Representative shall solicit orders that are submitted to NuVasive in
        accordance with this Agreement for the quantity of Products set forth in Exhibit E attached hereto
        ("Quota Commitment"). The Quota Commitment shall be determined, based on dialogue with
        Representative, by Nu Vasive in its sole discretion and delivered to Representative within thirty (30)
        days of the end of each calendar year, or as may be delivered to Representative by NuVasive from
        time to time {it being understood that NuVasive intends to deliver a Quota Commitment at intervals
        more frequently than annually only with respect to newly introduced products). If Representative (i)
        fails to secure orders for ninety-five percent (95%) of its aggregate Quota Commitment in any two
        consecutive calendar quarters, or (ii) fails to secure orders for ninety-five percent (95%) of its
        aggregate Quota Commitment for any given calendar year, then Representative shall be deemed in
        "Poor Standing" and NuVasive may, at its discretion and without prejudice to any other rights
        NuVasive may have under this Agreement, terminate Representative's exclusivity granted in Section
        2.1 herein and appoint one or more additional representatives for sale of Products in the Territory,
        reduce the Territory per Section 1.2, and/or terminate the Agreement at will per Section 11.3. If
        Representative is deemed to be in Poor Standing, Representative may regain good standing (and no
        longer be deemed in Poor Standing): (a) by achieving its aggregate Quota Commitment for a calendar
        quarter or the calendar year, or (b) as of the January 151 following the year in which Representative is
        deemed to be in Poor Standing unless Representative is, within fifteen (15) days of the end of the year,
        (1) notified by NuVasive that it is in Poor Standing, or (2) provided with a corrective sales plan by
        NuVasive. IfNuVasive provides a corrective sales plan as set forth in the prior sentence, then
        Representative shall be deemed in Poor Standing until Representative has successfully completed the
        corrective sales plan, as determined in the sole discretion of NuVasive. For the avoidance of doubt,
        Representative shall not be in Poor Standing as of the Effective Date. Orders fulfilling the Quota
        Commitment shall be based on bona fide orders submitted to NuVasive that would, upon acceptance
        by NuVasive, qualify for the payment of a Commission to Representative. The Territory may be
        subdivided into regions if set forth as such on Exhibit B, Exhibit C or Exhibit E (as updated from
        time to time by NuVasive). Separate Quota Commitments may be designated for each such region.

             6.2      Representative Infrastructure and Promotion of the Products. NuVasive and
        Representative acknowledge and agree that development of proper infrastructure on the part of
        Representative is vital for the success of the business, NuVasive will work with Representative to
        develop and refine expectations for business investments to be made by Representative for the purpose
        of expanding its infrastructure (e.g., overseeing operations, operational activities, adding personnel
        with specialized skills, investing in new markets, computer systems and software, inventory tracking
        and management, etc.) (the "Infrastructure Investments"). The Infrastructure Investments required by
        NuVasive will be reasonable in scope and expense and will be supported with resources from
        NuVasive. As the Infrastructure Investments are defined and communicated to Representative from
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     time to time, Representative agrees to comply with the Infrastructure Investments and agrees that
     failure to do so shall entitle NuVasive to appropriately redefine the Territory and/or tenninate
     Representative's exclusivity. Representative acknowledges and agrees to maintain sufficient
     personnel to effectively and consistently promote the sale of the Products as contemplated by the
     Agreementi with a focus on selling a complete mix of the various Products. Representative shall also
     provide sufficient promotional support to its sales representatives in order to promote the Products in
     their assigned territories. Representative agrees not to sell all or any part of the Promotional Materials
     of Section 7 .2 to any third party without the prior written consent of Nu Vasive. Representative shall
     use the Promotional Materials of Section 7 .2 solely to demonstrate and promote the Products to bona
     fide customers considering ordering such Products in strict accordance with all the terms of this
     Agreement and solely to the extent necessary to fulfill the purposes of this Agreement.

          6.3     Territorial Responsibility. Representative shall assign its entire Territory to individual
     sales representatives, shall set individual quotas for each representative, and shall communicate all
     such information to NuVasive on an ongoing basis.

          6.4      Sales Action Plans. Representative shall provide to NuVasive, within thirty (30) days
     following the end of each calendar year, an annual sales objectives plan detailing Representative's
     sales goals and execution strategies for the coming year. In addition, Representative shall deliver to
     NuVasive, by the fifth (5 1h) day of each calendar month, a monthly action plan detailing
     Representative's sales history, revised sales plans and strategies.

           6.5     Audit. Upon reasonable request by NuVasive, Representative agrees to furnish a full and
     detailed statement ofNuVasive's business and in Territory but only to the extent it relates to this
     Agreement, including without limitation to matters related to Sections 6.10 and 6.13 herein. Nu Vasive
     shall have the right during normal business hours and upon thirty (30) days prior written notice to audit
     Representative's records relative to NuVasive's business (including basic financial information of
     Representative) and verify any Representative statement sent to NuVasive.

           6.6      Demonstration and Staff Training. NuVasive agrees to provide Representative and its
     personnel with adequate training regarding the use and operation of the Products, and to also provide
     its staff and personnel with regular training regarding any updates to the Products. Representative
     agrees to attend (and have its applicable employees and contractors attend within 90 days of date of
     hire by Representative) training as requested by NuVasive. Representative agrees (i) that all of its
     applicable employees and contractors will attend NuVasive's sales training course within six (6)
     months of execution of this Agreement and (ii) to implement a sales training plan agreed upon by
     Representative and NuVasive's sales management that takes full use of training courses and provides
     regular and thorough training to entire sales team. Representative also agrees to meet NuVasive' s
     requirements for attendance and participation in NuVasive's Marquis Visit Program, which shall
     include an annual quota for MVPs to be scheduled by Representative. Costs associated with
     attendance at training events shall be borne by Representative.

           6. 7      Product Complaints. Representative represents and warrants that Representative shall: (i)
     promptly investigate and monitor all customer and/or regulatory complaints and/or correspondence
     concerning the use of the Products in the Territory; (ii) immediately notify NuVasive of all such
     complaints and/or correspondence; (iii) assign to NuVasive all rights (including intellectual property
     rights), title and interests in and to any customer feedback with regard to the Products, and (iv) take
     any and all such actions to ensure such assignment is effected, upon reasonable request ofNuVasive.

          6.8     Representations; Marketing. Representative represents and warrants it shall not make
     any false or misleading representations to customers or others regarding NuVasive or the Products, or

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     about NuVasive competitors or competitor products. Representative represents and warrants that it
     shall not make any representations, warranties or guarantees with respect to the specifications, features
     or capabilities of the Products that are not consistent with, or otherwise expand upon the claims in, the
     Promotional Materials or other documentation supplied by NuVasive. Representative represents and
     warrants that it shall use only the Promotional Materials supplied by NuVasive in its promotion of the
     Products. Representative represents and warrants that in no event shall Representative make any
     guarantee or warranty concerning the Products that is inconsistent with, or otherwise expands upon,
     NuVasive's standard limited warranty or on behalf of any vendor or supplier ofNuVasive.
     Representative represents and warrants that it shall promote and market the Products in accordance
     with the training provided by Nu Vasive.

           6.9      Notice of Changes. Representative shall promptly advise NuVasive of (i) any changes in
     Representative' status, organization, personnel, and similar matters, (ii) any changes in the key
     personnel, organization, and status of any major customers of NuVasive in the Territory, and (iii) any
     political, financial, legislative, industrial or other events in the Territory that could affect the mutual
     business interests of Representative and NuVasive, whether harmful or beneficial.

           6.10    Compliance with Laws and Policies. Representative represents and warrants that it will
     comply with all applicable federal, state, local, municipal, regulatory and/or governmental agency
     laws, statutes, regulations, edicts, guidance, directives, and ordinances, including, without limitation,
     (a) the Social Security Act; (b) HIPAA, (c) all federal and state health care anti-fraud, anti-kickback
     and abuse laws such as 42 U.S.C. § 1320a-7b(b); (d) the Federal Food, Drug, and Cosmetic Act and its
     implementing regulations; (e) all rules, regulations, and guidance of the FDA; and (t) all rules and
     regulations of the Center for Medicare and Medicaid Services (CMS). Without limiting the generality
     of the foregoing, except to the extent allowed by applicable law, Representative will make no offer,
     payment or other inducement, whether directly or indirectly, to induce the referral of business, the
     purchase, lease or order of any item or service, or the recommending of the purchase, lease or order of
     any item or service. Representative will comply, and will ensure its personnel carrying out activities
     under this Agreement comply, with all operating and compliance policies ofNuvasive, including
     (without limitation) the MDMA Code of Conduct on Interactions with Healthcare Providers (a copy
     of which is attached as Exhibit G hereto), NuVasive's Code of Ethical Business Conduct, NuVasive's
     Global Business Ethics Program, Insider Trading Policy and Inventory Management Policy (relating to
     wide variety of inventory management issues, including without limitation inventory investment,
     accountability for inventory management (such as cost~sharing) and consignment inventory), as such
     policies may be created and updated from time to time, and including any applicable training
     requirements with respect to such policies. Additionally, on not less than an annual basis,
     Representative shall certify to compliance with the Healthcare Compliance Guide by submitting a
     Certification of Compliance to NuVasive that Representative is in compliance with this Section 6.10
     and any other compliance terms in this Agreement in a form acceptable to NuVasive.

          6.11    Sales Representatives. NuVasive may elect to interview candidates for sales
     representative positions and to approve or disapprove such candidates based upon the hiring profile;
     provided, however, that such approval or disapproval does not affect Representative's authority to
     making hiring or other employment decisions. NuVasive shall have the right to approve how such
     sales representatives are trained and deployed. Representative shall compensate its sales
     representatives in its discretion.

         6.12     Regulatory Compliance. Representative will not alter or modify the Product(s) in any
     way prior to delivery to Customers. Representative shall at all times conduct its activities on behalf of
     Nu Vasive in accordance with the labeling limitations on the Products, the terms of this Agreement,
     NuVasive's written policies and procedures, and in compliance with applicable state and federal laws

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     in effect from time to time, including the FDA's quality system regulations (QSR), Adverse Event
     Reporting System (AERS) and/or current good manufacturing practice (cGMP) regulations and shall
     undertake all required compliance actions, including establishing and implementing all required
     control and reporting procedures. Representative shall provide NuVasive with such information and
     data as may be requested by Company pursuant to this Agreement.

           6.13     Agreement Regarding Competitive Products; Non-Solicitation. During the Term and for
     a period of one ( 1) year following the expiration or termination hereof, neither Representative nor any
     of Representatives' partners, employees, sub-contractors, sales personnel (whether employees of
     Representative or independent contractors), affiliates or agents (nor any entity in which Representative
     has an ownership interest) (each a "Representative Affiliate") shall (i) develop, represent, promote or
     otherwise try to sell within the Territory any lines or products that, in the Company's reasonable
     judgment, compete with the Products covered by this Agreement, (ii) solicit (directly or indirectly) any
     current or former customers ofNuVasive to purchase any products or lines that are, in the Company's
     reasonable judgment, competitive with the Products covered by this Agreement, or (iii) solicit or offer
     work to, directly or indirectly, any ofNuVasive's employees, agents or representatives.
     Representative represents and warrants that (A) each Representative Affiliate engaged by it on the date
     of execution hereof has executed an agreement (a "Compliance Agreement") in form and substance
     sufficient to contractually obligate such person or entity to comply with the restrictions contained in
     this Section 6.13, (B) each person or entity who becomes a Representative Affiliate in the future shall
     execute a Compliance Agreement prior to performing any services for the benefit ofNuVasive, (C)
     each Compliance Agreement will name NuVasive as an intended third party beneficiary with full right
     to directly enforce provisions necessary to comply with this Section 6.13, and (d) it will vigorously
     enforce the restrictions contained in this Section 6.13 and each Compliance Agreement at its own cost
     (and in the event Representative fails to adequately enforce such restrictions, NuVasive may do so at
     Representative's cost). Representative shall provide NuVasive a copy of each Compliance Agreement
     with respect to each Representative Affiliate immediately upon such person or entity becoming a
     Representative Affiliate. In addition, notwithstanding Section 12.1, this Section 6.13 shall be
     interpreted and enforced in accordance with the laws of the state in which Representative last resides
     while performing services for Nu Vasive, without regard to the conflict of laws provisions of said state.
     Each Compliance Agreement shall require all sales representatives to comply with the terms of
     Sections 6.10 and 6.12 hereof, and each such Compliance Agreement shall be provided to NuVasive.
     The one (1) year period during which the restrictions of this Section are applicable shall toll for any
     period of time in which Representative is not in compliance herewith.

          NuVasive and Representative acknowledge and agree that the foregoing non-competition
     covenants are reasonable and necessary to protect the legitimate interests of NuVasive, including
     without limitation, the protection of Confidential Information. Representative further acknowledges
     and agrees that such covenants are an essential part of, and consideration for, NuVasive's promises
     contained in this Agreement.

          6.14     Debarment. Representative represents and warrants that neither it nor any of its personnel
     carrying out activities under this Agreement have been nor are debarred, suspended, excluded or are
     otherwise ineligible under Section 306 of the Federal Food, Drug and Cosmetic Act (as amended by
     the Generic Drug Enforcement Act of 1992), 21 U.S.C. § 336, or are listed on any applicable federal
     exclusion list including the then-current: (a) HHS/OIG List of Excluded Individuals/Entities (available
     through the Internet at http://www.oig.hhs.gov); (b) General Services Administration's List of Parties
     Excluded from Federal Programs (available through the Internet at http://www.epls.gov); and (c) FDA
     Debarment List (available through the internet at http://www.fda.gov/ora/compliance_ref/debar/).



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              6.15     Interaction with Health Care Professionals. Representative represents and warrants that
        neither it nor any of its personnel carrying out activities under this Agreement currently have any form
        of compensation arrangement with any Health Care Professional other than an agreement to purchase
        product. Representative agrees that neither it nor any of its personnel shall enter into, any
        arrangement (e.g., grants, donations, sponsorships, reimbursement of expenses, etc.) or agreement, oral
        or written, with a Health Care Professional, other than for the purchase of product without the express
        prior written consent ofNuVasive's Compliance Officer or his/her designee. A breach of this
        provision shall be cause for NuVasive to terminate this Agreement at will.

               6.16    Insurance. During the Term, Representative shall maintain in full force and effect one or
        more policies of the following insurance coverage of not less than the following amounts: (i) General
        Liability - Two Million Dollars ($2,000,000) aggregate, One Million Dollars ($1,000,000) Bodily
        Injury/Property Damage per occurrence, One Million Dollars ($1,000,000) Personal and Advertising
        Injury, One Hundred Thousand Dollars ($100,000) Damage to Rented Premises, Ten Thousand
        Dollars ($10,000) Premises Medical Payments; (ii) Property Coverage equal to replacement value of
        property owned along with extra expense coverage to cover period of time to replace office premises;
        (iii) Professional Liability: One Million Dollars ($1,000,000) aggregate and per occurrence; (iv)
        Automobile Liability for owned, non-owned and hired autos (as applicable) -One Million Dollars
        ($1,000,000) per accident; and (v) Workers Compensation sufficient to meet statutory required
        benefits of the state in which your employees are domiciled; all from carrier(s) reasonably acceptable
        to NuVasive. On an ongoing basis, Representative shall provide NuVasive with one or more
        certificates of insurance showing that Representative maintains insurance in accordance with this
        Section 6.16. Such certificates shall confirm that NuVasive has been named as an additional insured on
        Representative's insurance policies by endorsement to such policies and shall provide that there shall
        be no cancellation or reduction in coverage without thirty (30) days' prior written notice to NuVasive.

   7.        ADDITIONAL OBLIGATIONS OF NUVASIVE

              7. l    Training by Nu Vasive. NuVasive shall provide sales and compliance training to
        Representative's personnel at periodic intervals, with the frequency and content of the training to be
        determined by NuVasive. When possible, such training shall be given at Representative's facilities,
        but it may be necessary to provide combined training at a geographically central location near but not
        in the Territory. Travel and expenses associated with attendance by Representative and
        Representative's personnel shall be borne by Representative. Representative shall sign all
        certifications confirming its training as may be requested by Nu Vasive.

              7.2     Promotional Materials. NuVasive shall provide Representative with marketing and
        technical information concerning the Products as well as reasonable quantities of brochures,
        instructional material, advertising literature, product samples,. and other Product data ("Promotional
        Materials"). NuVasive may charge Representative for such materials. Representative shall not add,
        delete, or modify any language in the Promotions Materials in any manner, except for adding
        Representative contact information. Under no circumstances shall Representative use any other
        promotional material or literature regarding the Products without the prior written consent of
        NuVasive.

              7.3     Telephone Marketing and Technical Support. NuVasive shall provide a reasonable level
        of technical support in English to personnel of Representative who have been trained by NuVasive
        during its normal business hours to answer Representative's questions related to the Products.
        NuVasive will also provide assistance to Representative regarding sales administration, hiring, and
        implementation of sales plans.
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    8.        INDEMNITY

              Subject to all of the Conditions set forth in this Section 8, Nu Vasive shall defend, indemnify and
         hold harmless Representative and its employees and agents, from and against any and all causes of
         action, claims, suits, proceedings, damages and judgments by third parties (collectively, "Claims"), to
         the extent that such Claims are based primarily on an alleged manufacturing or design defect in a
         Product sold by Representative. In the event that any Claim is asserted against Representative,
         Representative shall provide written notice to Nu Vasive within ( 10) days after learning of such Claim.
         NuVasive will have the right to select counsel, and conduct and control at its expense the defense
         against and settlement of such Claim in its own name, or if necessary in Representative's name and
         NuVasive's defense counsel may act on Representative's behalfregardless of whether such Claim has
         also been asserted against NuVasive. Representative will cooperate with and make available to
         NuVasive such assistance and information as may be reasonably requested by NuVasive, and
         Representative will have the right to participate in the defense, including representation by
         independent counsel, at Representative's expense, provided that under such circumstances
         Representative will have the right to compromise and settle the Claim only with the prior written
         consent ofNuVasive. If, in connection with any Claim it is determined by NuVasive that
         Representative acted beyond its authority, or failed to comply with any of its material obligations
         under this Agreement, NuVasive shall be immediately relieved of its obligations to Representative
         under this Section 8.

    9.        TRADEMARKS

                  9.1 Use. NuVasive hereby grants to Representative the non-exclusive, non-transferable,
         limited right and license for the Term to indicate to the public that it is an authorized representative of
         the Products and to advertise (within the Territory) such Products under the trademarks, service marks,
         logos, and trade names that Nu Vasive may adopt from time to time ("Trademarks"). Representative
         shall not alter or remove any Trademark applied to the Products. Except as set forth in this Section 9,
         nothing contained in this Agreement shall grant to Representative any right, title or interest in the
         Trademarks. At no time during or after the Term shall Representative challenge or assist others to
         challenge NuVasive' s ownership of its Trademarks or attempt or assist others to attempt to register any
         trademarks, marks or trade names confusingly similar to those ofNuVasive. Should NuVasive notify
         Representative that the use of any Trademarks violates the then in effect Trademark guidelines
         ("Trademark Guidelines") established by Nu Vasive, Representative shall bring such use into
         conformance with the Trademark Guidelines and shall provide to NuVasive a specimen of such
         conforming use. Notwithstanding the foregoing, NuVasive, at its discretion, may terminate this
         trademark license when it determines that Representative is using the Trademarks in a manner that
         violates NuVasive's then in effect Trademark Guidelines. Promptly following termination or
         expiration of this Agreement for any reason, Representative shall take all actions necessary to transfer
         and assign to NuVasive all rights, title and interest in and to the Trademarks and goodwill related
         thereto which Representative may have acquired as a result of this Agreement and shall promptly
         discontinue all uses of the Trademarks. Representative shall cooperate with NuVasive, at NuVasive's
         expense, to register the Trademarks in any jurisdiction, including executing appropriate documents and
         otherwise assisting NuVasive.

                  9.2 Approval of Representations. All representations of the Trademarks that Representative
         intends to use (including without limitation in any catalogue or other marketing collateral) shall first be
         submitted to NuVasive for written approval (which shall not be unreasonably withheld) of design,
         color, and other details. Representative may not mark the Products or Product packaging materials
         with its own trademarks, service marks, trade names, or logos or those of any third party ("Other
         Marks") without the prior written consent ofNuVasive. If any ofNuVasive's Trademarks are to be
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          used in conjunction with Other Marks on or in relation to the Products, then the Trademarks shall be
          presented equally legibly, equally prominently, and of greater size than the other but nevertheless
          separated from the Other Marks so that the Trademarks and the Other Marks each appears to be a mark
          in its own right, distinct from one another.

    10.       CONFIDENTIALITY

                10.l Confidential Information. "Confidential Information" means the proprietary or
      confidential information of NuVasive which is disclosed to Representative, whether before or after the
      Effective Date, and (a) if disclosed in writing, is marked as confidential at the time of disclosure, or
      (b) if disclosed orally or in other intangible form, is identified and treated as confidential at time of
      disclosure and identified in writing and marked confidential within thirty (30) days after disclosure
      and relates to products, plans, designs, costs, prices, finances, marketing plans, business opportunities,
      personnel, research, development, know-how, trade secrets, inventions, blueprints, techniques,
      processes, algorithms, software programs, schematics, designs, contracts, customer lists, procedures,
      formulae, patent applications and other information relating to NuVasive's business, services,
      processes or technology. Confidential Information shall not include information that Representative
      proves: (i) was known by Representative or was publicly available prior to disclosure by NuVasive to
      Representative; (ii) became publicly available after disclosure by NuVasive to Representative through
      no act of Representative; (iii) is hereafter rightfully furnished to Representative by a third party
      without confidentiality restriction; or (iv) is disclosed with the prior written consent ofNuVasive or as
      expressly authorized under this Agreement.

               10.2 Non-Disclosure. Parties shall not, except as otherwise expressly provided herein, use,
      disclose, disseminate or otherwise allow access to the Confidential Information of the other Party to
      anyone other than to employees that have a need to know such Confidential Information to implement
      this Agreement and who are bound by written confidentiality obligations with provisions no less
      stringent than those contained in this Section 10. Each Party shall prevent unauthorized disclosure or
      use of the Confidential Information of the other Party. Parties shall execute all documents and
      otherwise shall take all necessary steps to ensure that each be able to enforce rights hereunder
      pertaining to Confidential Information. Parties shall be responsible for any breach of this Section 10.2
      by employees, contractors or agents.

              10.3 Ownership. Representative acknowledges and agrees that NuVasive (or its licensors)
      owns all rights, title and interests, including intellectual property rights, in and to NuVasive's
      Confidential Information.

               10.4 Notification. If Representative learns or believes that any person who has had access to
      the Confidential Information of NuVasive has violated or intends to violate this Agreement,
      Representative shall immediately notify NuVasive and shall cooperate with NuVasive in seeking
      injunctive or other equitable relief against any such person.

               I 0.5 Exceptions. Representative may disclose the Confidential Information of NuVasive, only
      if such disclosure is required by law, provided that Representative promptly notifies NuVasive to
      allow intervention by NuVasive (prior to the disclosure), cooperates with NuVasive to contest or
      minimize the disclosure (including application for a protective order) at NuVasive's expense and limits
      such disclosure to the party entitled to receive the Confidential Information and to the scope of the
      legal requirement. Notwithstanding the foregoing, any Confidential Information disclosed pursuant to
      this Section 10.S shall otherwise continue to be treated as Confidential Information hereunder.
      Notwithstanding anything to the contrary, Representative must obtain the consent of NuVasive prior to
      disclosure of this Agreement to any third party.

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                 10 .6 Confidentiality of Agreement. Representative shall not disclose any term of this
          Agreement or announce the existence of this Agreement without the prior written consent of
          NuVasive.

                   10.7 Reproduction of Confidential Information. Confidential Information shall not be
          reproduced except as required to implement this Agreement. Any reproduction or derivative of any
          Confidential Information of NuV asive by Representative shall remain the property of NuVasive and
          shall contain all confidential or proprietary notices or legends which appear on the original.

                   10.8 Equitable Remedies. Any unauthorized disclosure or use of Confidential Information by
          Parties shall be a material breach of this Agreement, and Parties shall be entitled to all remedies
          available under law or in equity, including without limitation injunctive relief without the need to post
          a bond therefor.

    11.        TERM AND TERMINATION

              11.1 Term. This Agreement shall take effect on the Effective Date and continue in force for a
      term beginning on the Effective Date and ending on December 31, 2013 ("Term"), unless sooner
      terminated under the provisions of this Section 11. Representative understands and agrees that
      following termination for any reason, Representative will be responsible for returning any outstanding
      inventory items and will be held responsible for missing items.

               11.2 Termination for Cause. (i) If either party defaults in the performance of any provision of
      this Agreement, then the non-defaulting party may give written notice to the defaulting party that ifthe
      default is not cured within thirty (30) days the Agreement (except for breaches of Section 2.5, 6.1, 9,
      10 or 12.3, in which case such termination shall be immediate upon notice) will be terminated. Such
      thirty (30) day notice period shall not be required if the breach by its nature cannot by its nature be
      cured within thirty (30) days.

                11.3 Termination At Will. NuVasive shall have the right to terminate this Agreement at will if
      Representative is deemed to be in "Poor Standing" per Section 6.1. NuVasive shall also have (i) the
      right to terminate this Agreement at will if Representative breaches a term of this Agreement at any
      time on or prior to 90 days from the date of this Agreement, and (ii) the termination right described in
      Sections 6.15 and 11.6.

                11.4 Termination for Insolvency. This Agreement may be tenninated by either Party without
      notice (i) due to insolvency, receivership or bankruptcy proceedings or any other proceedings for the
      settlement of the other Party, (ii) upon either Party making an assignment for the benefit of creditors,
      or (iii) upon either Party's dissolution or ceasing to do business.

                     11.5 Effect of Termination.

              (a)        Accrued Obligations. Termination shall not relieve either party of obligations incurred
                         prior to the effective date of such termination.

               (b)       Return of Materials. All trademarks, trade names, patents, copyrights, designs, drawings,
                         fonnulas or other data, photographs, samples, literature, sales aids of every kind and
                         NuVasive Confidential Information shall remain the property ofNuVasive. Within ten
                         (10) days after the termination of this Agreement, Representative shall prepare all such
                         items in its possession for shipment, as NuVasive may direct, at NuVasive's reasonable
                         expense. Representative shall not make, use, dispose of or retain any copies or
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                   derivatives of any NuVasive Confidential Information in any form. Effective upon the
                   termination of this Agreement, Representative shall cease to use all Trademarks.
                   Representative shall comply with all requests from Nuvasive regarding the return of
                   inventory, Products, samples, etc.

          (c)      Additional Commissions. In addition to any commissions already earned by
                   Representative but not yet paid by NuVasive under the terms of Section 3 above,
                   Nu Vasive shall pay commissions to Representative on all orders from the Territory that
                   were accepted by NuVasive within thirty (30) days after the date of termination of this
                   Agreement and for which NuVasive receives payment within sixty (60) days after the
                   date of termination of this Agreement.

          (d)      IfNuVasive should terminate this Agreement due to a material breach by Representative
                   of any of their obligations under Section 2.4, 6.13, 6.15, 9 or 10 of this Agreement, then
                   in addition to any other legal or equitable remedies available to NuVasive, NuVasive
                   shall have the right in its sole discretion and for no additional consideration to
                   Representative: to direct Representative to immediately assign to NuVasive all
                   Compliance Agreements or similar agreements described in Section 6.13 above; and to
                   solicit, contract with, or hire any sales representatives of Representative.

              I 1.6 Change of Control. In the event that NuVasive undergoes a merger, acquisition,
     consolidation, a sale of all or substantially all ofNuVasive's assets, or a majority in voting power of
     NuVasive's then-outstanding voting securities are acquired by a third party (each a "Change of
     Control"), NuVasive and the successor in interest or acquiring party (the "Acquiring Party") shall have
     the right to terminate this Agreement at any point from thirty (30) days before the occurrence such
     event and up to twelve (12) months after such event (the "Termination Right'').

     In connection with a Change of Control, Representative shall be entitled to a payment of up to the
     Stated Percentage (the "Change of Control Payment"). The Change of Control Payment, to the extent
     paid, shall be paid as follows: one half of the Change of Control Payment shall be paid promptly
     following the closing of the Change of Control (the "First Payment"), and the remaining portion of the
     Change of Control Payment shall be paid promptly following the termination of this Agreement
     pursuant to exercise by Nu Vasive or the Acquiring Party of the Termination Right (the "Second
     Payment").

     Notwithstanding the foregoing, the Change of Control Payment shall only be required if
     Representative: (i) is currently engaged as a Representative; (ii) is not in Poor Standing; and (iii) is not
     in breach of a material provision of this Agreement (including, but not limited to, Section 6.13);
     provided, however, ifNuVasive is not required to make the Change of Control Payment solely due to
     subsection (ii) of this paragraph, Representative shall be entitled to half of the First Payment and half
     of the Second Payment (in accordance with the terms set forth in this Section 11.6).

     For purposes hereof, the "Stated Percentage" shall equal five percent (5%) of (a) all annualized sales
     generated by Representative pursuant to this Agreement (and in the Territory) minus (b) $10,600,000
     which represents Product orders procured from customers within the Territory for the fiscal year ended
     December 31, 2012.

             11. 7 Additional Provisions Regarding Change of Control. In the event the Second Payment is
     made, all Compliance Agreements (or similar agreements then in effect) shall be immediately assigned
     to NuVasive or the Acquiring Party (at NuVasive's discretion) and all other reasonable steps (not to
     include significant cash payments by Representative) shall be taken by Representative to ensure that

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          the services of all Representative Affiliates are continued uninterrupted on behalf of the Acquiring
          Party or Nuvasive (as appropriate). Further, NuVasive may at any time Representative is in Poor
          Standing, upon payment of the Stated Percentage, elect to terminate this Agreement and have all
          Compliance Agreements assigned to it (and require that all other reasonable steps (not to include
          significant cash payments by Representative) be taken by Representative to ensure that the services of
          all Representative Affiliates are continued uninterrupted on behalf ofNuvasive).

                  11.8 Survival. The provisions of Section 5, Section 6.13, Section 8, Section 9 (except for the
          grant ofrights and licenses by NuV asive ), and Sections 10-12 shall survive the expiration or
          termination of this Agreement for any reason. All other rights and obligations of the parties shall
          cease upon termination of this Agreement.

    12.        MISCELLANEOUS

                     12.1 Governing Law and Jurisdiction.

               (a)       Other than with respect to Section 6.13 hereof, this Agreement is entered into in and shall
                         be governed, construed and enforced in all respects solely and exclusively under the laws
                         of the State of California, USA without giving effect to any law which would result in the
                         application of a different body of law. Any and all suits hereunder shall be brought and
                         resolved solely and exclusively in, and the parties hereby irrevocably consent to the
                         exclusive jurisdiction and proper venue of, the state and federal courts located in the
                         County of San Diego, State of California, USA, and waive any objections thereto based
                         on any ground including improper venue or Forum Non-Conveniens. The parties agree
                         that any process directed to any of them in any such litigation may be served outside the
                         State of California, USA, with the same force and effect as if the service had been made
                         within the State of California, USA, and that service of process may be effected in
                         accordance with Section 12.2 hereof. Any decision rendered by such court shall be
                         binding, final and conclusive upon the parties, and a judgment thereon may be entered in,
                         and enforced by, any court having jurisdiction over the party against which an award is
                         entered or the location of such party's assets.

               (b)       The prevailing party in any action or suit shall be entitled to recover all costs it incurred
                         in connection therewith, including, without limitation, reasonable attorneys' fees.

              (c)        Notwithstanding anything to the contrary herein, each party shall be entitled to seek
                         injunctive or other equitable relief, wherever such party deems appropriate in any
                         jurisdiction, in order to preserve or enforce such party's rights for any breach or
                         threatened breach of the other party of Articles 6, 9, 10 and 12.5. Each party agrees that:
                         such Sections are necessary and reasonable to protect the other party and its
                         business, any violation of these provisions could cause irreparable injury to the other
                         party for which money damages would be inadequate, and as a result, the other party will
                         be entitled to seek and obtain injunctive relief against the breach or threatened breach of
                         the provisions of such Sections without the necessity of posting bond or proving actual
                         damages. The parties agree that the remedies set forth in this Section 12.1 (c) are in
                         addition to and in no way preclude any other remedies or actions that may be available at
                         law or under this Agreement.

               12.2 Notices. Any notice required or permitted by this Agreement shall be in writing and shall
      be sent by prepaid registered or certified mail, return receipt requested, addressed to the other party at


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      the address shown below or such other address for which such party gives notice hereunder. Such
      notice shall be deemed to have been given three (3) days after deposit in the mail.

         To NuVasive:          NuVasive, Inc.
                               7475 Lusk Boulevard
                               San Diego, California 92121
                               Attention: Legal Department

         To Representative: Absolute Medical LLC
                            213 Villa Di Este Terrace #105
                            Lake Mary, Florida 32746
                            Attention: Greg Soufleris

              12.3 Assignment. Representative may assign or transfer this Agreement or any of its rights
      and obligations under this Agreement only upon the prior written consent ofNuVasive, which shall
      not be unreasonably denied.

               12.4 Property Rights. Representative agree that NuVasive owns all right, title, and interest in
      the product lines that include the Products and in all ofNuVasive's patents, trademarks, trade names,
      inventions, copyrights, know-how, and trade secrets relating to the design, manufacture, operation or
      service of the Products. The use by Representative of any of these property rights is authorized only
      for the purposes herein set forth, and upon termination or expiration of this Agreement such
      authorization shall cease.

                 12.5 Indemnification.

           (a)       Representative shall indemnify, defend and hold harmless NuVasive and its directors,
                     officers, employees and agents from any loss, cost, liability or expense, including
                     attorneys' fees, that NuVasive incurs or becomes liable for arising out of any breach by
                     Representative of any of its representations, warranties and covenants contained herein
                     and any acts or omissions of Representative or its employees and agents relating to the
                     performance of this Agreement.

           (b)       NuVasive shall indemnify, defend and hold harmless Representative and its directors,
                     officers, employees and agents from any loss, cost, liability or expense, including
                     attorneys' fees, that Representative incurs or becomes liable for arising out of any breach
                     by NuVasive of any of its representations, warranties and covenants contained herein and
                     any acts or omissions ofNuVasive or its employees and agents relating to the
                     performance of this Agreement.

             12.6 Severability. If any provision(s) of this Agreement shall be held invalid, illegal or
     unenforceable by a court of competent jurisdiction, the remainder of the Agreement shall be valid and
     enforceable and the parties shall negotiate in good faith a substitute, valid and enforceable provision
     which most nearly effects the parties' intent in entering into this Agreement.

             12.7 Modification; Waiver. This Agreement may not be altered, amended or modified in any
     way except in a writing signed by both parties. The failure of a party to enforce any provision of the
     Agreement shall not be construed to be a waiver of the right of such party to thereafter enforce that
     provision or any other provision or right.




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              12.8 Entire Agreement. This Agreement and the exhibits hereto represent and constitute the
     sole, final and entire agreement between the parties, and supersedes and merges all prior negotiations,
     agreements and understandings, oral or written, with respect to the matters covered by this Agreement,
     including (without limitation) the prior Exclusive Sales Represe'ntative Agreement executed by the
     Parties.

              12 ..9 Counterparts. This Agreement may be executed in two or more counterparts, each of
     which shall be deemed an original and all of which together shall constitute one instrument. The
     parties agree that a facsimile may be executed as an original.

             12. l 0        Advice of Counsel. Each of the parties to this Agreement represent that they
     have had the opportunity to seek the advice of counsel with respect to the negotiation and execution of
     this Agreement. Representative further represents that it has executed this Agreement of its own free
     will and is not relying on counsel for NuVasive with respect to any portion of this Agreement.

             12.11         No Implied Licenses. Except as explicitly set forth herein, Representative is not
     granted any explicit or implied licenses in this Agreement.

                12.12       Representations and Warranties.

          (a)       Corporate Power. Representative is duly organized and validly existing under the Jaws of
                    its state of incorporation (as set forth on the first page of this Agreement) and has full
                    corporate power and authority to enter into this Agreement and to carry out the provisions
                    hereof.

          (b)       Due Authorization. Representative is duly authorized to execute and deliver this
                    Agreement and to perform its obligations hereunder. The person executing this
                    Agreement on Representative's behalf has been duly authorized to do so by all requisite
                    corporate action.

          (c)       Binding Agreement. This Agreement is a legal and valid obligation binding upon the
                    Parties and enforceable in accordance with its terms. The execution, delivery and
                    performance of this Agreement by the Parties does not conflict with any agreement,
                    instrument or understanding, oral or written, to which it is a party or by which it may be
                    bound, nor violate any material law or regulation of any court, governmental body or
                    administrative or other agency having jurisdiction over it.

              12.13       Compliance. Representative agrees to maintain all records required to
     substantiate compliance with all such laws, regulations, policies, procedures and guidelines and terms
     of this Agreement for the term of the Agreement plus an additional six years. Representative shall not
     in any way disparage NuVasive, its products, or its agents or employees, including, without limitation,
     taking any action or making any statement the intent or reasonably foreseeable effect of which is to
     impugn or injure the reputation or goodwill ofNuVasive or any of its agents or employees.




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           This AGREEMENT is ['ntered into and binding upon the Parties as of the Effective Date:



     NUVASIVE, INC.                                        ABSOLUTE MEDICAL LLC




     By:   z~~
       Mirttlink, Executive Vice i'resident, US Sales
                                                               m~_,,,_-'
                                                               ~
                                                           By:_._   ;§_..,,,.IS"------




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                                                 EXHIBIT A
                                                PRODUCTS

    This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
    Agreement (the "Agreement") between the Company and Representative (as defined in the Agreement).
    Any capitalized tenns not defined in this Exhibit shall have the meaning set forth in the Agreement.
    Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall
    control.



                                      Products: All NuVasive Products
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                                                      EXHIBITB
                                                     TERRITORY

   This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
   Agreement (the "Agreement") between the Company and Representative (as defined in the Agreement).
   Any capitalized terms not defined iri this Exhibit shall have the meaning set forth in the Agreement.
   Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall
   control.




                                                     Territory:

   The following counties in the State of Florida:

   Flagler                                                     Brevard        Martin
   Volusia                                                     Osceola        St. Lucie
   Lake (with the exception of Clermont ambulatory             Orange
   Surgical Center)
   Seminole                                                    Highlands
   Palm Beach: with the exception of the following             Indian River
   hospital: Lake Worth Surgical Center


   The following hospitals in Broward County, Florida:
   Advanced Orthopedics
   North Broward Medical Center

   The following hospital in Miami-Dade County, Florida:
   The Gable Surgical Center

   The following hospital in Polk County, Florida:
   Heart of Florida Regional Medical Center, Davenport, FL




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                                                 EXHIBITC
                                                COMMISSIONS

    This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
    Agreement (the "Agreement") between the Company and Representative (as defined in the Agreement).
    Any capitalized terms not defined in this Exhibit shall have the meaning set forth in the Agreement.
    Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall
    control.


            Commissions for Exclusive Representatives (stretch amounts paid quarterl"X}:

                                                                                                        2013
    Flat commission on all sales up to $10,600,000 (2012 sales in the Territory)                        15%
    Flat commission on all sales between $10,600,001 and the aggregate Quota Commitment                 18%
    Additional commission on all incremental sales in excess of Quota Commitment should
    Distributor achieve aggregate quarterly Quota Commitment but not quarterly Quota                     19%
    Commitment in each product category.
    Additional commission on all incremental sales in excess of Quota Commitment should
    Distributor achieve aggregate quarterly Quota Commitment AND quarterly Quota                         20%
    Commitment in each product category.

    In addition, upon the achievement in $10,600,000 of Net Sales in the Territory, Representative shall be
    paid an additional $18,000.

    (Above commissions exclude fees/loaner charges, which shall be paid at 20%).


    NuVasive reserves the right to introduce new products with different commission structures.
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                                               EXHIBITD
                                       ADDITIONAL COMPENSATION

    Within fifteen days of the completion of the milestones set forth below within the timeframe set forth
    below, such completion to be determined in the reasonable discretion ofNuVasive, NuVasive shall pay to
    Distributor the following amounts.

   Within seven (7) days of the Effective Date:

        1. $50,000 upon the successful establishment of Distributors legal entity and the execution the
           Compliance Agreements for Distributor's employees/contractors.

        2. $10,000 upon completion of compensation plans for the Distributor sales team.

   Within thirty (30) days of the Effective Date:

        3. $25,000 for the completion, in collaboration Nu Vasive's Sales Director, Southeast, of an
           updated business plan.

        4. $3 5,000 for the completion of comprehensive recruiting, hiring and expansion plan.

   Within sixty (60) days cifthe Effective Date:

        5. $50,000 for the establishment of internal infrastructure to support case scheduling, asset
           management, etc., specifically to include:
             a. IT Infrastructure (iPad implementation, Email System etc.)
             b. Adoption ofNuVasive Mobile Charge Sheet and Salesforce.com

        6. $50,000 for the successful collaboration and development of a case management and asset
           management program and associated metrics.

   Within ninety (90) days of the Effective Date:

        7. $25,000 for the completion of a new distributor training program, such training program to
           include training on:
              c. Compliance
              d. Sales Administration
              e. Legal
              f. Sales Training
              g. Leadership Development
              h. Hiring and Recruiting

   Within one hundred and twenty (120) days of the Effective Date:

        8. $55,000 upon the execution of hiring and recruiting plan as set forth in Number 4 above.




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                                                 EXHIBITE
                                       2013 QUOTA COMMITMENT

    This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
    Agreement (the "Agreement") between the Company and Representative (as defined in the Agreement).
    Any capitalized tenns not defined in this Exhibit shall have the meaning set forth in the Agreement.
    Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall
    control.




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                                   EXHIBITF

                         TERMS AND CONDITIONS OF SALE




                                   [see attached]




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                                                                   TERMS AND CONDITIONS OF SALE

   These terms and conditions govern the sale of all products ("Products") by NuVasive®, Inc. ("Seller") to the party issuing an order for Products
   hereunder ("Buyer") and apply notwithstanding any cimflicting, contrary or additional terms and conditions in any purchase order or other
   document or communication. These terms and conditions constitute the sole, final and entire agreement between Seller and Buyer and supersede
   all other agreements between them regarding the subject matter hereof. These terms and conditions may only be waived or modified lo a written
   agreement signed by an authorized representative of Seller. Neither Seller's acknowledgement of a purchase order nor Seller's failure to object to
   conflicting, contrary or additional terms and conditions in a purchase order shall be deemed an acceptance of such terms and conditions or a
   waiver of the provisions hereof.

   1. Orders and Acceptance. Orders shall be initiated by Buyer issuing a purchase order to Seller. Orders shall identify the Products, unit
   quantities, descriptions, applicable prices and requested delivery dates. All orders are subject to acceptance by Seller. Accepted orders may not
   be cancelled except upon Seller's written approval, which may, at Seller's discretion, be subject to Buyer's payment of Seller's reasonable
   cancellation charges. ORDERS SHALL BE BINDING ONLY UPON BUYER, AND SHALL CEASE TO BE BINDING ONLY IF AND WHEN
   EXPRESSLY REJECTED BY SELLER. ONLY ACCEPTED ORDERS SHALL BE BINDING UPON BOTH SELLER AND BUYER. All prices
   for Products, Including for the use of Loaned Products (defined below), shall be in accordance with Seller's list pricing, unless modified in a
   written agreement signed by an authorized representative of Seller.

   2. Teuns and Method of Payment. Payments shall be due upon receipt of invoice and shall be made solely in U.S. dollars in immediately available funds. If payment is
   not received by Seller within thirty (30) calendar days following the date of lnvoice, the unpaid balance will accrue Interest from the date due until the date paid at a rate of
   one and one hatt percent (1.5%) per month, or the maximum rate allowed under applicable law, whichever is less. If in the judgment of Seller the financial condition of
   Buyer, at any time, does not justify continuance of production or shipment on the terms of payment specified, Seller may require full or partial payment of any completed
   delivery prior to delivery of any subsequent orders.

   3. Title and Delivery.
   (A) Products shall be delivered FCA (lncoterms 2000) point of shipment. Title and risk of loss or damage in the Products shall pass to Buyer upon Seller's tender of the
   Products to a carrier for shipment. If loss or damage occurs during shipment, Buyer shall not be relieved of its obligation to pay costs of insurance. transportation, Import
   duties, taxes or any other expenses incurred for licenses or clearances required at port of enby and destination. A security interest in the Products shall be retained by
   Seller until receipt of paymentin full from Buyer. Seller shall use commercially reasonable efforts to meet Buyer's requested delivery schedule.
   (B) Seller agrees to provide Buyer with loaned instruments and products ('Loaned Products") for use by Buyer with the Products. Seller is and shall be at all times the sole
   owner of the Loaned Products. Buyer has no right to sell, transfer, assign, pledge or otherwise encumber the Loaned Products without prior written approval by Seller.
   Buyer shall bear all risks of loss or damage to the Loaned Products (and all associated costs or expenses) from any cause from the date of delivery to Buyer until returned
   to Seller, unless such loss or damage results from the negligence of Seller.
   4. Warranty and Remedies.
   (A) Seller warrants that (1) each Product or Loaned Product shall conform to its published specifications upon shipment to Buyer; and (2) for a period of one (1) year from
   the date of delivery, the software Included In any Product will materially conform to Seller's then-<:urrent documentation for such software and lhe media containing such
   software (but not the software itselQ is free from physical defects (the 'limited Warranty").
   (B) EXCEPT FOR THE EXPRESS LIMITED WARRANTY IN SECTION 4(A), TO THE MAXIMUM EXTENT ALLOWABLE UNDER APPLICABLE LAW, SELLER
   DISCLAIMS ALL WARRANTIES, WHETHER EXPRESSED OR IMPLIED, STATUTORY OR OTHERWISE (INCLUDING ANY WARRANTY OF MERCHANTABILITY, NON-
   INFRINGEMENT, OR FITNESS FOR A PARTICULAR PURPOSE) IN CONNECTION WITH ANY PRODUCT OR LOANED PRODUCT. Seller assumes no liability for
   faulty or improper appfication or use of any Product or Loaned Product or improper use of any Product or Loaned Product in combination with any other products.
   (C) With respect to Products or Loaned Products which do not conform to their published specifications, Seller will repair or, at its option, replace any non-conforming
   Products or Loaned Products and return lhe repaired or replacement Products or Loaned Products to Buyer without charge. All Products returned under warranty must be
   accompanied by a written explanation of the non-conformance. SUCH REPAIR OR REPLACEMENT IS BUYER'S ONLY REMEDY AND SELLER'S ONLY LIABILITY AND
   OBLIGATION FOR BREACH OF WARRANTY HEREUNDER.
   (D) NOTWITHSTANDING ANYTHING ELSE HEREIN, SELLER WILL NOT BE LIABLE HEREUNDER OR OTHERWISE IN CONNECTION WITH ANY PRODUCT OR
   LOANED PRODUCTS, UNDER ANY LEGAL OR EQUITABLE THEORY, WHETHER IN CONTRACT, TORT OR OTHERWISE (INCLUDING NEGLIGENCE OR STRICT
   LIABILITY): (I) FOR ANY AMOUNT EXCEEDING THE AMOUNT PAID BY BUYER TO SELLER FOR THE ORDER GIVING RISE TO SUCH LIABILITY; (II) FOR ANY
   PUNITIVE, SPECIAL, INCIDENTAL, INDIRECT OR CONSEQUENTIAL DAMAGES, QB (Ill) ANY LOSS OF DATA, LOST PROFITS, LOST OPPORTUNITY OR LOST
   REVENUE, WHETHER CHARACTERIZED AS DIRECT DAMAGES OR OTHERWISE.

   5. Taxes. Seller's prices are exclusive of all taxes. Responsibility for all customs duties, charges, sales tax, value-added tax, and any other ta~es imposed by any taxing
   authority on the sale or use of any of the Products or Loaned Products (excluding any taxes solely on Seller's income) shall be borne solely by Buyer. lf Buyer is tax·
   exempt, Buyer shall, prior to purchase, furnish Seller with any documents necessary to demonstrate its tax.exempt status. Providing such documentation, however, does
   not relieve Buyer of its obligations to pay taxes in this Section 5, if applicable.

   6. Compliance with Law. Buyer represents, warrants and covenants that at all times, Buyer's use, distribution, sale, marketing, advertising, import and export of all
   Products and Loaned Products will comply with all applicable laws, rules, regulations and indusby standards of the United States and of any other applicable jurisdicHon,
   antl·kickback laws, physician referral laws, Including the U.S. Foreign Corrupt Practices Act and all appUcable export laws, restrictions, and regulations of the United States
   or any applicable foreign government, agency or authorti)'. Buyer will not export or re-export, or authorize the export or re-export of any Product or Loaned Product,
   technology or information it obtains or learns from Seller (or any direct product thereoQ in violation of any such laws, restrictions or regulations. Buyer shall obtain and bear
   all expenses relating to any necessary licenses and/or exemptions with respecl to the export from the USA of the Products or Loaned Products, or the import of the
   Products or Loaned Products to any location in compliance with all appUcable laws and regulations.
   7. Intellectual Propertv Ownership. Buyer acknowledges that the Products and Loaned Products incorporate technology that are subject to Seller's Intellectual Property
   Rights, and that such technology is not sold to Buyer and Is only licensed to Buyer for use solely as incorporated and/or embedded into the Product or Loaned Product.
   Other than the foregoing license, Seller or its licensors shall retain all Intellectual Property Rights and interests in and to or underlying the Products or Loaned Products and
   nothing herein shall be construed to grant Buyer a llcense of any kind to any Intellectual Property Rights of Seller. To the maximum extent allowable under applicable law,
   Buyer agrees that it shall not, directly or Indirectly through any third party, reverse engineer, decompile, duplicate or translate any Product or Loaned Product or seek to
   reveal the trade secret or know how underlying any Product or Loaned Product. ·1ntellectual Property" or 'Intellectual Property Rights' as used herein collectively
   means any and all patents, copyrights, trademarks, trade secrets, mask works, moral rights, know-how or any other proprietary right, and any applications for the foregoing,
   under the laws of the United States, any other jurlsdicUon, the European Union, or any other bl-lateral or multi-lateral treaty regime.



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   8. Return/Upgrade Policy. EXCEPT WITH RESPECT TO BIOLOGIC PRODUCTS, Buyer shall be able to return any unused Products for full credit within sixty (60) days
   of delivery; provided, however, that Buyer will be charged a 30% restocking fee for all unused Products returned after ten (10) days of delivery; provided further, that all
   returns include a Returns Material Authorization (RMA) number, which can be obtained from NuVaslve customer service. Buyer will not be able to return any Products after
   sixty (60) days of delivery. Any instrumentation Product purchased by Buyer from Seller may be upgraded for a newer model developed by Seller (tt such model was not
   available at the time of purchase) within three (3) years of the delivery date or the original instrumentation Product in accordance with the following: (a) for the first year after
   the delivery date, Buyer shan receive 100% credit of the original purchase price to be applied toward the purchase, at Sellers list price, of the upgraded instrumentation; (b)
   for the second year after the delivery date, Buyer shall receive 50% credit of the original purchase price to be applied toward the purchase, at Sellers list price, of the
   upgrade instrumentation; and (c) for the third year alter the delivery date, Buyer shall receive 25% credit of the original purchase price to be applied toward the purchase, at
   Sellers list price, of the upgraded instrumentation.
   9. Software Maintenance/Updates. For a period of one (1) year from the date of delivery of a Product containing software, SeOer will provide Buyer with software updates
   and support services. Support services consist of the following: (a) technical support by telephone twenty-four (24) hours a day, year-round, at Seller's support line at 1-
   877-348-5511 from the United States and at 1-858-909-1800 internationally; and (b) ff Buyer reports a software problem to Seller, and Seller conflffils that the problem
   exists in Seller's Product, Seller will use its best efforts to promptly correct or supply a work-around for the error if it substantially degrades the pelfonrtance of the Product,
   and to correct other significant errors in future software releases.
   10. Discounts and Rebates. Buyer shall disclose any discounts or other reductions in price received under this Agreement as required under Section 1128B(b)(3)(A) of
   the Social Security Act [42 U.S.C. 1320a-7b(b)(3)(A)] to any state or federal program which provides cost or charge-based reimbursement to Buyer for the Products
   purchased under this Agreement.
   11. Miscellaneous. Fallure by Seller to Insist upon pelfonnance of any tenn or condition set forth herein shall not be construed as a waiver of such tenns and conditions
   and shall not affect the right of Seller thereafter to enforce each and every tenn and condiUon. These tenns and conditions and all disputes arising out of or related to these
   terms and conditions shall be solely and exclusively construed and governed in accordance with the laws of the State of California, USA, without application of any law that
   would result In the application of a different body of law. The UN Convention on Contracts for the International Sale of Goods is hereby expressly excluded and shall not
   apply to these tenns and conditions. Any and all suits hereunder shall be brought and resolved solely and exclusively in, and the parties hereby irrevocably consent to the
   exclusive jurisdiction and proper venue of, the state and federal courts located in the County of San Diego, State of California, USA, and waive any objections thereto based
   on any ground including improper venue or Forum Non-Conveniens. These tenns and conditions shall be binding upon and inure to the benefit of the parties, and their
   successors, and permitted assigns. If one or more provisions in these terms and conditions are ruled entirely or partly invalid or unenforceable by any court or
   governmental authority of competent jurisdiction, then the remaining portions hereof shall remain valid and the parties shall reform the provlsion(s) to the minimum extent
   necessal)' to render them valid and enforceable in conformity with the parties' intent as manifested herein. Any rights to accrued payments and Sections 2, 4(B), 4(0), 5, 6,
   7, and 11 shall survive the expiration of these terms and conditions.




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                                         EXHIBITG

                MDMA Code of Conduct on Interactions with Healthcare Providers
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                                          I
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                        2013 INIDEPENDENT CONTRACTOR AGREEMENT
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            THIS AGREEM~NT, made this 13th day of Februa1y, 2013, by and between
      ABSOLUTE MEDICAL ~LC, a Florida corporation (hereinafter referred to as uAgent"),
       whose address is 213 \{'ilia Di Este Terrace #105, Lake Mary, FL 32746 and, Steve
      Madsen Pro. (hereinaft~r referred to as "Independent Contractor"), whose address is
                               112S Hampton Drr., Jupiter, FL 33458.

                                         !
                                         I        WITNESSETH:
                                         ,1


              WHEREAS, Age~t is in the business of selling surgical and non-surgical spinal
        products and implants) related to spinal surgery, including, but not limited to spinal
     implants, access instrum~nts, such as retractors, graphing material, biological products,
       and other products, whiph are more fully described on Schedule B (the "Products") in
      the territory set forth. in ~chedule A attached hereto, hereinafter referred to as "Agent's
            Territory" by one  or    more manufacturers who supply the Products to Agent
                                   I        ("Manufacturer'');

               WHEREAS,      Ag~nt
                                 desires to engage Independent Contractor to provide the
      services described in schedule B (the "Services") and Independent Contractor desires
           to accept such eng?gement, all on the terms and conditions set forth herein;
                                     I
               WHEREAS, lntiependent Contractor seeks to be engaged by Agent as an
          independent contratjtor to provide the Services described in Schedule B in the
      designated territory (set forth in Schedule G)(the "Territory") and earn a commission as
                            set forth in Schedule D for such services; and
                                     ~
               WHEREAS, as al material inducement ·for Agent to enter into this Agreement is
          Independent Contractqr's agreement to be bound by all of the terms and conditions
                  contained hei:ein in particular the provisions of Section 12 below.

                NOW, THEREFbRE, in consideration of the mutual covenants and promises
                      contain~d
                             ,,
                                herein, the parties hereto agree as follows:

     1.       Relationship of Pahies.
                                I
             (a)   The parties! to this Agreement intend that the relationship between them
     be that of corporation bnd independent contractor. Independent Contractor is an
     independent contractor qfthe Agent. The parties do not intend to create a partnership,
     joint venture or employer/employee relationship.
                                !
                                '1

            (b)   Agent shall not have the right to require Independent Contractor to do
     anything that would jedpardize the relationship of independent contractor between
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     Agent and Independent   C~ntractor.Likewise, Independent Contractor shall not conduct
     his/her business in any W;ay which will give rise to an employer/employee relationship
     between the parties.     l

            (c)    lndependen~Contractor    shall perform the duties described in Schedule B
     at a location of the Indep .ndent Contractor's choosing. Independent Contractor shall be
     responsible for all costs a sociated with maintaining that location.

            (d)    The Agent      ~hall
                                    not require that Independent Contractor work specified
     hours or days and the ln~ependent Contractor shall set his own schedule. Independent
     Contractor shall have no fixed hours, no established routines or routes, nor be required
     to cover the Territory vYithin a specified time frame. Independent Contractor has
     discretion regarding wheh and how to perform his or her duties and responsibilities
     described in Schedule B. f

             (e)  None of thel benefits provided by the Agent to its employees are available
                              1
     to the Independent Contrr ctor, including vacation pay, sick pay, insurance, or retirement
     benefits.                I,

                              ~
            (f)   Agent shall! not withhold any local, state, or federal income tax, social
     security, or other withhpldings required of employees from commissions paid to
                              I
     Independent Contractor. Independent Contractor shall indemnify and hold Agent
     harmless against any of tpe costs specified in this paragraph.

            (g)     lndependen~ Contractor is responsible for hiring, paying, and supervising
     any staff that he or she ~ay hire. Independent Contractor shall ensure that all of his/her
     employees, agents and i~dependent contractors rendering services hereunder meet the
     obligations specified hefein. The Independent Contractor, his/her employees and
     agents shall, at all times, exercise complete discretion and independent professional
     judgment in the perfon~ance of the services provided hereunder.              Independent
     Contractor shall indemnify and hold Agent harmless against any costs or expenses that
     are incurred by Agent as :a result of any actions of Independent Contractor's employees,
     agents and independent 9ontractors. ·
                              I

                              I
            (h)    Independent Contractor agrees to be solely and entirely responsible for
     his/her acts and for the abts of his/her employees and agents, and for paying any taxes
     and insurances required by law. Independent Contractor shall indemnify and hold
     Agent harmless against ~ame.
                              I
                              I
            (i)    lndepende~t Contractor may work for other entities while engaged as
     Agent's independent contractor so long as that work does not interfere with Independent
     Contractor's performanc~ of the duties described in Schedule B and does not conflict
     with Section 12 below. !
                              I
     2.    lndegendent Contractor. Agent hereby engages Independent Contractor as an
     independent contractor t~ provide the Services in the territory describecl in Schedule C
                              I
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                                  I
     attached hereto and mad~ a part hereof (the "Territory"). The products that are included
     in the product groups so14 by the independent contractors employed by Agent are listed
     on Schedule B and ar,e sold by the independent contractors and field support
     representatives exclusiv~ of any other products whatsoever. Independent Contractor
     hereby accepts such epgagement, all subject to the conditions, limitations and
     provisions set forth in thif Agreement. Agent reserves the right to review and modify
     from time to time the Tirritory and the duties of engagement, and limit, expand or
     otherwise change the Ter itory and the duties of engagement


     3.      Term of A reeme t. This Agreement shall commence on the Effective Date and
     shall continue for one (11 year from the Effective Date. Unless either party provides
     written notice of not less than thirty (30) days from expiration of the Term that it wishes
     to terminate this Agreem~nt, then this Agreement shall automatically renew for a period
     of one (1) year. The tertn shall thereafter automatically renew for successive one (1)
     year periods unless thi~ (30) days notice is provided. This Agreement may also be
     earlier terminated by eith+r party in accordance with Section 9 hereof.
                               1
     4.     Covenants of Independent Contractor. Independent Contractor covenants to
     Agent that at all times duPiing the term of this Agreement:
                               I
            (a)     IndependentI Contractor shall use his/her best efforts to work with the
     Independent Contractor'9i and field support representatives to advertise, promote and
     sell the Products and to ¢tevelop, maintain and regularly increase a substantial volume
     of sales within the T erritoj-y to existing and new customers in order to achieve maximum
     market penetration.

            (b)    lndependen~ Contractor shall distribute only literature, brochures and other
     promotional materials ($ollectively, the "Promotional Materials") which have been
     provided to Independent! Contractor by Agent or by Manufacturer and shall distribute

                              l
     Promotional Materials op!y to Independent Contractors of the Agent, field support
     representatives, existing ustomers and potential customers of the Products.
            (c)    Except as set forth in Promotional Materials or on Products provided to
     Independent Contractor,! he/she shall not use Manufacturer(s)' name, trademarks,
     service marks or logosl under any circumstances, unless Independent Contractor
     obtains prior written approval from Agent. Nothing contained in this Agreement is
     intended to give lndepen1ent Contractor any license to use any of the foregoing.

            (d)    lndepende~t Contractor shall store all of the Products delivered to him/her
     at the location set forth <!m the first page of this Agreement or at such other locations
     within Independent Contractor's Territory approved by Agent in writing in advance.
     Independent Contractor ~hall use his/her best efforts to safeguard all Products in his/her
     possession or control an~ to protect such Products from damage and theft, as well as
     maintain an inventory of froducts in Independent Contractor's possession.
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             (e)    lndependen Contractor shall not: (i) knowingly sell or deliver, directly or
     indirectly, any Products tfr use or resale outside Independent Contractor's Territory; (ii)
     solicit orders for Producr· from customers outside Independent Contractor's Territory
     through any mea.ns; or (ii" establis. h an.office outside Independent Contractor's Territory
     for sale of the Products.

            (f)   lndependen Contractor shall not make representations to customers or
     potential customers or third parties that would be detrimental to either Agent or
     Manufacturer.             I
            (g)      lndependen~ Contractor shall not alter, in any way, the original packages
     of any Products or repacltage any Products or ship any Products in damaged packages
     which could affect the s~erility or fitness for use of the Product. Should Independent
     Contractor come into possession of any Products which need to be repackaged, he/she
     shall return same to Manracturer
                              1          with notice to Agent.

            (h)    Upon advapce notice and during normal business hours Independent
     Contractor shall permit if-gent to visit and inspect Independent Contractor's premises
                                in
     and inspect the Products his/her possession or control.

            (i)      lndepende~t  Contractor shall participate, assist and cooperate with Agent
     in the collection of custo111er accounts receivable as may be requested by Agent from
     time to time.              ·

            (j)     lndependeit Contractor shall not encumber, rent, sell, create a security
     interest in or otherwise tr.· nsfer or dispose of any Products in Independent Contractor's
     possession or control.       :

            (k)    Independent Contractor shall execute, alone or with Agent, any UCC
     financing statement or orher documents req. uested by Agent to protect the ownership
     interests of Manufacturer in the Products against the interests of third persons.

            (I)    lndepende11· Contractor shall not make any false or misleading
     representations or staterryents to any person with respect to Agent, Manufacturer or the
     Products. Furthermore, ljndependent Contractor shall not make any express or implied
     warranties to any    custorers  or prospective customers with respect to the Products
     which are in any way inconsistent with the Promotional Materials. Furthermore,
     Independent Contractor hall not make any express or implied warranties to customers
     or potential customers or, any other party regarding the Products which are not included
     in Manufacturer's then c~rrent printed materials without Agent's prior w1itten consent in
     each instance.             l
           (m)     lndepende~t Contractor shall not enter into any agreement for or on behalf
     of Agent or Manufacture~, create any obligation on behalf of Agent or Manufacturer, or
     otherwise attempt to bind or obligate Agent or Manufacturer in any manner.


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           (n)
     of engag.ement, and all tf
                  Independent Contractor shall comply with all of the terms and conditions
                                   Agent's instructio.ns and requirements which may be stated
     by Agent, orally or in writi g, from time to time.

     5.     Covenants of A e 1t. Agent covenants to Independent Contractor that at all times
     during the term of this Ag eement:

           (a)     In the even of limited product availability, Agent shall distribute Products
     to Agent's independent c ntractors according to Agent's sole discretion.

             (b)    Agent shall make reasonable efforts to fill each order of Independent
     Contractor for Products t~at Agent approves, but shall not be liable in any respect for a
     failure to ship or for a delay in shipment of Products.

     6.    Business Plan.   F~om    time to time while Independent Contractor is serving as an
     independent contractor fq;r Agent pursuant hereto, Agent may require that Independent
     Contractor submit to Agent a "Business Plan" covering a period of time between six (6)
     months to one ( 1) year. j The Business Plan shall include a sales forecast by product
     groups, a list of target a;ccounts, a description of Independent Contractor's proposed
     marketing and sales strategy and other relevant data as may be requested by Agent.
     Based on such Busine~s Plan and Independent Contractor's prior performance,
     Independent Contractor Land Agent shall establish a sales goal for Independent
     Contractor for the period 1covered by the Business Plan. It is entirely within Independent
     Contractor's discretion holw to reach his or her sales goal.

     7.    Orders, Commissi ns, Benefits, Delivery and Expenses.

            (a)   lndependenlt Contractor hereby acknowledges that title to any Products
     delivered to lndepende~t Contractor pursuant to this Agreement shall remain in
     Manufacturer until sol~ to a customer in the ordinary course of business.
     Notwithstanding the for~.going, Independent Contractor shall be liable for all lost or
     damaged inventory.       I
            (b)   Provided ln~ependent Contractor is not in breach of any obligations under
     this Agreement, Agent sliall pay to Independent Contractor the commissions described
     in Schedule D attached 1jereto which are subject to modification upon thirty days notice
     to Independent Contractor.

          (c)    lndependeJt Contractor shall not be entitled to receive any other
     compensation or consideration from Agent for the performance of its duties hereunder.

           (d)    Agent,   up~n  approval from Manufacturer, shall establish prices for
     Products to be sold in Agrnt's Territory.

            (e)    Independent Contractor shall obtain the prior written approval of Agent
     with respect to the credit !rating of a new customer prior to the shipment of any Products

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     to such customer. Upo receipt of verbal instructions from Agent, which shall be
     confirmed in writing, lnd~pendent Contractor shall cease delivery of any Products to a
     customer whii;;h has failf=d to make payments to Manufacturer in accordance with
     Manufacturer's billing requirements at such time.

            (f)    lndependenf Contractor shall bear all costs and expenses of conducting
     his/~er b~sine~s relating ~o . the sale of the Products in lndepend~nt Contractor's
     Territory, including but n~r limited to, travel, sales expenses and entertainment.

     8.     Changes to Products, Parts and Policies.           Unless otherwise provided by
     applicable law:            I
            (a)      Manufactur!r may at any time modify or discontinue selling any Product
     and Independent Contraptor shall have no claim against Agent or Manufacturer for
     failure to furnish Products of the type previously sold.

            (b)    Manufactu~r may at any time change warranty or service policies without
     incurring any liability to lnrependent Contractor.

     9.     Termination of Agrlement.

            (a)   This Agree~ent may be terminated by either party at any time, with or
     without cause. , by provid ng not les.s than fifteen ( 15) days written notice to the other
     party. This Agreement m. y otherwise be terminated by either party if the other party:

                   (i)     com~its a breach of any provision of this Agreement, or a breach
     of any provision of any olther agreement or written obligation heretofore or hereafter in
     effect between Agent and Independent Contractor {collectively, the "Other
     Agreements"), which is rot cured within five (5) days after receipt of written notice
     thereof by the other p121rty1

                   (ii)  makt:(s a material false representation, report or claim in connection
     with the performance of   tleir
                                  obligations under this Agreement or any Other Agreement;

                   (iii)   ceasrs to carry on business in the ordinary course;
                   (iv)    violars an.y provision.of ~ection .12 of.thi~ Agreement;             .
                  (v)    becotnes insolvent, hqwdates, 1s adjudicated a bankrupt, files a
     bankruptcy petition, maRes an assignment for the b~nefit of creditors, invokes the
     provisions of any law    tot
                               the relief of debtors, or files or has filed against them any
     similar proceeding; or    t'
                   {vi)   com . its any act or omission by Independent Contractor or any
                   employee, 'independent contractor or other agent of Independent
                   Contractor hat might be construed as a violation of the federal Stark law,
                   federal fal~e claims act, federal anti-kickback statute, federal Health
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                   Insurance ~nd Portability Act provisions, federal civil money penalties
                   statute, lawk, rules and regulations pertaining to Medicare or Medicaid,
                   similar stat~ laws or of criminal acts of a violent nature or relating to the
                   practice of rpedicine.
                               I
       A termination based u~on subsections (ii)-(vi) above shall be effective immediately.

             (b)   Upon termifi!ation of this Agreement for any reason, with or without cause,
     Independent Contractor ~hall immediately deliver to Agent all price lists, customer lists,
     catalogues, literature antj any other dated and printed materials relating to the sale of
     the Products in lndepepdent Contractor's possession, custody or control, on the
     effective date of the termifiation, including but not limited to, Promotional Materials.

             (c)   Upon termi~ation of this Agreement for any reason, with or without cause,
     Independent Contractor $,hall, within ten (10) days after the Termination Date, deliver as
     directed by Agent all Pro~ucts then in his/her possession or control and a list of all then
     currently scheduled surgeries. In addition, Independent Contractor shall promptly
     supply Agent with a cur~ent list of the locations of any Products not in Independent
     Contractor's possession jor control. Agent shall have the right to deduct from any
     compensation due to lnd~pendent Contractor: (i) the replacement cost of any Products
     previously delivered to !~dependent Contractor which have not been either sold to a
     customer or delivered to p.gent in accordance herewith; (ii) the replacement cost of any
     Products returned to Agent which are deemed unacceptable by reason of their
     damaged condition; and ~iii) the amount of any repackaging and refinishing charges. If
     the amount owed by lnd1pendent Contractor to Agent exceeds the commissions owed
     by Agent to Independent '.Contractor, then Independent Contractor shall be liable for the
     deficiency. Such amountishall be due to Agent within ten (10) days after the termination
     of this Agreement Failur~ to remit said amount shall entitle Agent to default interest on
     the outstanding amounts at the maximum allowable rate.
                               !
            (d)    The termin~tion of this Agreement shall not relieve a party from any
     obligations or liability to the other party incurred prior ·to termination nor shall a
     termination of this Agreerhent by a party be in lieu of any other remedies which may be
     available to such party un;der
                                ,,
                                    this Agreement, at law or in equity.

            (e)    For calculation of compensation due as of the date of termination,
                               I
     Independent Contractor shall be entitled to compensation only for any Products
     surgically implanted prlor1 to the effective date of termination. Independent Contractor
     shall not receive any compensation for Products surgically implanted after termination.
     Any draws payable to i Independent Contractor shall cease upon termination, if
     applicable.               ·

     10.   Returns. ProducJ returns during the term of this Agreement, other than in
     accordance with Section Is hereof, must be approved by Manufacturer in advance in
     accordance with Manufacrurer's then current "Return Goods Policy".

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     11.     f orc~ajeure. Agent shall not be liable to Independent Contractor on account
     of any failure or delay i~ performing its obligations under this Agreement, including
     without limitation, any f~ilure or delay in delivering the Products to Independent
     Contractor or his/her c~stomers. where such failure or delay results, directly or
     indirectly, wholly or partitally, from any cause beyond its control, including by way of
     illustration but not by Way of limitation, any acts of God, acts of governments,
     curtailment of utility sertices, floods, fires, shortages of material, war, insurrection,
     strikes or other labor difficulties, production difficulties in Manufacturer's factories or
     those of its suppliers, or ielays or failure of transportation facilities.

     12.    Confidentiality, Nopcompetition; Com12etitive Produc;;ts.

             (a)    (i)    Duri~g     the term of this Agreement, Independent Contractor shall
     not manufacture, sell, market, attend surgeries using, or deliver any product, or
     participate in any mann~r in such activities, whether personally or through a fictitious
     name, corporation, partnership or other legal entity if such product is in competition with
     any product manufacture~, sold, marketed or distributed for sale by Manufacturer; nor
     shall Independent Contr~ctor manufacture, sell, market, or deliver any non--competitive
     products that are used inl spinal surgery. For purposes of this Section 12, a product is
     "competitive" if it is technologically feasible to use in place of or as a substitute for
                                 1
     another, irrespective of tlilj e nature or extent of activity of such products in the existing
     market.

                    (ii)    Duri~g the term of this Agreement and for a period of one (1) year
     following the effective Glate of termination under Section 9 or Section 3 of this
     Agreement for any reaso~ whatsoever (the "Termination Date"), Independent Contractor
     shall not directly or indrrebtly, as an individual, proprietor, partner, venturer, stockholder,
     director, officer, consult~nt, employee, independent contractor, agent or in any other
     capacity:                   i
                                 !
                                 I
                                 I
                         (1) Engage or participate, directly or indirectly, in the sale,
     manufacture, or marketi~g of any spinal surgical devices offered by Agent or any of
     Agent's Manufacturer(s) !(except for sales made on behalf of Agent pursuant to this
     Agreement during its ten-ilir;

                            (2) { ·) work for, provide services to, engage in or assist others to
     engage in or have inter~st in any business which competes with the Agent and/or
     Manufacturer(s); (b) oth~rwise engage in any activities of the type in which he/she is
     engaged on behalf of ~gent including, without limitation, the representation of any
     manufacturer, seller, or t;narketer of medical device products that are the same as or
     that are competitive With any Manufacturers' products or; (c) enter into any
     compensation arrangem~nt, sale of his/her business, distribution of assets, or any other
     transaction relating to th~ manufacture, distribution, promotion or sale of products which
     directly or indirectly compete with any Manufacturers' product. Tile territorial scope of
     this restriction shall be Iifiited to the geographical county(ies) covered by Independent
     Contractor and in which \ndependent Contractor solicited customers, covered cases, or
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     sold any product on beh~lf of Agent at any time during the twelve (12) month period
     preceding the end of his/~er engagement with Agent
                                    !
                          (3)       I
                                  solicit, serve, divert, sell to, or accept business from or
     attend surgeries of or as$ist any person in so soliciting, serving, selling to, diverting or
     accepting business from! or attending surgeries of any "Protected Customer" of the
     Ageny or in any way attempt to influence or persuade such customers to alter or
     terminate their business!_ relationship with Agent or to refrain from pure.hasing any
     products offered by Agept. The term "Protected Customer" refers to any physician,
     hospital or medical facili~ that purchased or utilized in surgery any Product or any other
     product sold or distributfd by Agent and/or a Manufacturer and/or their employees,
     representatives and independent contractors during the twelve month period preceding
     termination of his/her engagement with Agent. ; or
                                    l

                                I (1)  Solicit the employment of, hire, retain or engage, or
     cause any person or enti;ty with which Independent Contractor is affiliated to solicit the
     employment of, hire, retain or engage, any employee, independent contractor or other
     agent of Agent or Manuf~cturer who had a relationship with Agent or Manufacturer at
     any time during the term of this Agreement. This restriction shall also apply to
     employees, independent!contractors and other agents of Independent Contractor who
     have or had a relationshiR with Independent Contractor any time during the term of this
     Agreement which Agent1or Manufacturer employs or retains during the term of this
     Agreement and within on~ month of its termination.

            (b)     (i)   Duri~g   the term hereof and after the termination of this Agreement
     for any reason whatsoever, Independent Contractor shall not at any time directly or
     indirectly disclose to apy individual, corporation, partnership or other entity any
     "confidential information" !(as hereinafter defined) or trade secrets of or relating to Agent
     or Manufacturer.           I
                    (ii)  For   ~urposes of this Agreement, "confidential information" means
     information disclosed or known to Independent Contractor or as a consequence of or
     through the performanqe of his/her obligations under this Agreement (including
     information conceived, o~iginated, discovered or developed by Independent Contractor),
     not generally known      irlthe industry, about Agent's or Manufacturer's business,
     processes, apparatus, ~roducts, research, research programs, customers, pricing,
     financial data and busin4.·ss plans, and shall include the list of Agent's customers and
     their contact information ~address and telephone numbers).
                                l


            (c)    During the\ term of Independent Contractor's service to the Agent,
     Independent Contractor ~hall not, directly or indirectly on such person's own behalf or
     as an employee, indeper'.ldent contractor, agent, partner, owner, officer, director of any
     person or entity or any pther capacity, employ, retain or contract with any person or
     entity who directly or ;indirectly: (i) sells, offers for sale, promotes, distributes,
     represents, receives or ~olicits orders for or attends surgeries utilizing any Competitive
     Products; or (ii) accepts compensation
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                                             of any kind from any person or entity providing or
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     engaging in the sale, Rromotion, distribution or representation of any Competitive
     Products. Furthermore, 1· dependent Contractor shall not. directly or indirectly represent
     any Competitive Product without the Agent's written consent.

            (d)     lndepende~, Contractor recognizes and acknowledges that the limitations
     set forth in this Section 1. are properly requir.ed for the adequate pro.tection and b.enefit
     of the business of Agent, and that Agent will be irreparably harmed by the breach of this
     Section 12. In addition o any other available remedies, Agent shall have the right to
     have the provisions of thi Section 12 enforced by temporary or permanent injunction in
                                1
     a court of competent juristliction.
             (e)    lndependen~   Contractor agrees that in the event that any of the provisions
     of this Section 12 are fodnd by a court of competent jurisdiction to exceed the time and
     geographic limitations ehforceable under applicable law, such provisions shall be
     automatically reformed ~o establish the maximum time or geographic limitations
     permitted by law, or, i~ not capable of such reformation deemed null and void.
     Moreove.r, the parties agrf· e that th. e. duration.al restrictions contained in these .covenants
     shall be tolled during any. period of violation.
                                '

            (f)     In the even that Independent Contractor desires to be released from the
     restrictions contained in 9ections A(ii) (1) - (3), he/she may pay Agent the sum of three
     times the sum Agent h~s received as a result of Independent Contractor's sale of
     Products during the tw11ve month period immediately preceding termination of the
     Agreement.                .

     The terms and condition of this Section 12 shall survive the expiration or termination of
                            '          this Agreement

     13.     Indemnification.   a.ch of Agent and Independent Contractor (the "indemnitor")
     shall indemnify, defend a d hold the other harmless from and against any liability, loss,
     costs, expenses (includirg without limitation attorney's fees and costs) or damages
     howsoever caused by re~son of any injury (whether to body, property, or personal or
     business character or reij>utation) sustained by any person or to property, by reason of
     any breach of this Agreement, neglect, default, or omission by the indemnitor or its
     agents, employees or othbr representatives.

     14.     Damages. Agent     lhallnot be liable for any incidental, consequential, special or
     punitive damages for a tdilure to fill an order, delay in shipment or delivery, or any other
     act or omission.

     15.   Entire Agreement. This Agreement constitutes the entire Agreement between
     the parties relating to th~ matters covered by this Agreement and supersedes all prior
     agreements, whether written or oraL No modifications or waiver of any part of this
     Agreement shall be bindirhg upon either party unless in writing executed by both parties.



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     16.     §..everpbilfu!:. If apy term or provision of this Agreement shall be determined
     invali.d or unenforceable Jo any extent or in any application, the.n the remainde. r of this
     Agreement and of such ~erm or provision except to such extent or in such application,
     shall not be affected thery:by, and each and every term and provision of this Agreement
     shall be enforced to the.lullest extent and in the broadest application permitted by law.
     Further pertaining to t~e restrictions contained in Section 12 hereof, while said
     restrictions are considere~··tl by the parties hereto to be reasonable in all circumstan.ces.• it
     is recognized that restr ctions of the nature set forth herein may fail for reasons
     unforeseen and accordi gly it is hereby agreed and declared that if any of such
     restrictions shall be dee~ed or adjudged to be void or voidable as going beyond what is
     reasonable in all the ciryumstances, for the protection of the Agent's business, then
     such restrictions shall no~ thereby be terminated, but shall be deemed amended to the
     extent required to render jsuch restrictions valid and enforceable.

     17.    Notice. Any notioe or other communication required or permitted to be given
     hereunder shall be in Writing and shall be mailed by pre-paid certified mail, return
                                I
     receipt requested or by Federal Express or other similar overnight delivery service
     pr?viding proof of deliv~ry. to the other pa~y at the ad?~ess set forth on the first page of
     this Agreement. All notices shall be effective upon mailing as set forth above.

     18.    Governin Law · urisdiction.       This Agreement shall be governed by and
     construed in accordance iwith the laws of the State of Florida. Any action or proceeding
     shall be brought in the courts of Broward County, Florida.

     19.    Headings.     The   ~eadings in the Sections of this Agreement are inserted for
     convenience only and sh II not constitute a part hereof.

     20.    Customer Goodwi I. I agree that a portion of the consideration to be provided by
     Agent under this agreenient is in exchange for any goodwill I may currently have with
     physicians, hospitals and other medical providers and their staff and hereby transfer
     that goodwill to Agent forjits future benefit.                                 .

     21.   Binding Nature. This Agreement shall be binding upon and inure to the benefit of
     the parties hereto and~their respective successors, representatives and permitted
     assigns. Independent C. ·. ntractor shall not assign this Agreement or any portion thereof
     without the express writt .n permission of Agent

     22. · .Qonstruction. Th~ parties acknowledge that each party and its counsel have
     reviewed and revised this Agreement and the normal rule of construction to the effect
     that any ambiguities are   ta  be resolved against the drafting party shall not be employed
     in the interpretation of thi$ Agreement or any amendments or exhibits hereto.

     23.    Further Assurancds. Each of the parties hereto shall execute any and all further
     or additional instrumentsl or documents as the other party may reasonably request in
     order to give effect to the. agre€;Jments contained herein.


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     24.   Prevailing Party Attorneys' Fees.         The prevailing party in any action or
     proceeding brought by eirher .party relating to this Agreement sha.11 be e.ntitled to recove. r
     reasonable attorneys' fee and costs from the other, including costs and fees on appeal.

     25.     Individual Obligor Agent recognizes that Independent Contractor may do
     business via a corporation or other business entity. Agent, however, is, in part,
     contracting for the spehific services of the individual executing this Agreement
     Accordingly, to the exte~t that the Independent Contractor is identified as a business
     entity in the opening paragraph of this Agreement, by executing this Agreement, the
     individual signatory confi ms that he is also individually bound by all of its terms and
     conditions.                ·

      IN WITNESS WHEREOIF the parties hereto have set their hands the day and year first
                                     above written.


     ABSOLUTE MEDICAL Lr                            INDEPENDENT CONTRACTOR


     By:                        •

     GREG SOUFLERIS, Prinbipal Agent                Print Name:
                                                                   -----------
                                                    1ndiv id uaIIy and on behalf of Independent
                                                    Contractor




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                                   SCHEDULE A



                                 Agent7S Territory



                                      Volusia

                                      Orange

                                     Seminole

                                       Lake

                                     Osceola

                                      Brevard

                                    Indian River

                                     St Lucie

                                    Okeechobee

                                     Highland

                                      Martin

                                    Palm Beach

                                   North Broward




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                                          SCHEDULE B



                                    [Services and Products]
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                              f
                              'I
                              I                       .
                         INDEl:PENDENT CONTRACTOR'S SERVIQES:
                              I
                              I    SALES REPRESENTATIVE:
                              j


             The FSR is respbnsible for providing coverage for all surgeries in an assigned
       geography. Coverage includes but is not limited to coordinating scheduling, ordering
       and delivering inventoo/, in-servicing hospital staff and surgeons on products, intra.,.
     operative product technical support, delivering accurate charge sheets and cleaning and
        pick-up of inventory. An FSR is expected to represent the Agent in a professional
             manner and to b~ regarded as an asset by the surgical and nursing staff.
                              I
                The SR is responsible for the duties described above for an FSR, and, in
       addition, the SR will vi~orously pursue the sale of products in a defined geography.
     Sales duties will include 9ut are not limited to sales forecasting, geography landscaping,
     prospecting, product pre~entation and business requesting. The SR will track purchase
                            or1ers and invoices for the Agent as well as

                              I

                                           PRODUCTS:

                              II

                               i

     Spinal surgical products i~cluding  but not limited to spinal implants, biologics, bone
     cement, allograft, neurophysiological monitoring equipment, disposables, hemostasis
     products, surgical instru~ents i.e. retractors, hand instruments etc.




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                                   SCHEDULED



                                  [Commissions]

                              2013 Compensation Plan




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       24.   Prevailing Party ~ttome~Fees. The prevailing party in any action or
       proceeding brought by either party relating to this Agreement shall be entitled to recover
       reasonable attorneys' fe+ and costs from.the other, including costs and fees on appeal.

       25.     Individual Obli      Agent recognizes that Independent Contractor may do
       business via a corpora~mn or other business entity. Agent. however, is, in part,
       contracting for the spe~ific service~ of the individual executing this Agreement.
       Accordingly, to the exterft that the Independent Contractor is identified as a business
       entity in the opening pa(agraph of this Agreement,, by executing this Agreement, the
       individual signatory contitms th.at he is also individually bound by all of its terms and
       conditions.               i
                                I
              .                 ~

        IN WITNESS WH~REOlf the parties hereto have set their hands the day and year first
                                I           above   written,
                                ~
                                ~
       ABSOLUTE MEDICAL       utc
                                !
                                                    INDEPENDENT CONTRACTOR


       By:-~-­
       GREG SOUFLERiS, PrinLpal Agent
                                                       "         ~
                                                    ~' illAve ~LrC\
                                                    P:a:: ~
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                                                    Individually and on behalf o lndeJJlnkent
                                                    Contractor




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           24.   Prevailin Pa         orne s' Fees.        The prevalling party in any action or
           proceeding brought by eit~er party relating to this Agreement shall be entitled to recover
                                  f
           reasonable attorneys' e~ and costs from the other, including costs and fees on appeal.

           25.     Individual Oblidor.! Agent recognizes that Independent Contractor may do
           business via a corpdrat\on or other business entity. Agent, however, is, in part,
           contracting for the  s!:ecific services of the individual executing this Agreement.
           Accordingly, to the ex ent that the Independent Contractor is identified as a business
           entity in the opening , ar~graph of this Agreement, by executing this Agreement, the
                               ca,
           individual signatory 1nfirms that he is also individually bound by all of its terms and
           conditions.                ,

            IN WITNESS WHER,OF the parties hereto have set their hands the day and year first
                                          above written.


           ABSOLUTE       MEDICAL LLC


           8y~I./~
           GREG SOUFLERIS, Principal Agent


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                                                                                                   EXHIBIT
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